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April 7, 2020

VIA ECF & E-MAIL
Honorable Analisa Torres
United States District Court
Southern District of New York
500 Pearl Street, Courtroom 15D
New York, New York 10007

Re: Arlene Delgado v. Donald J. Trump for President, Inc., et al.
U.S. District Court, Southern District of New York
Civil Action No. 19-cv-11764 (AT)

Dear Judge Torres:

We represent Donald J. Trump for President, Inc., Trump for America, Inc., Sean Spicer,
and Reince Priebus (collectively, “Defendants”) in the above-captioned action and are writing
jointly with plaintiffs counsel, in accordance with Section I(C) of Your Honor’s Individual
Practices and Section 2(A) of Your Honor’s Emergency Individual Rules and Practices in Light of
COVID-19, to request that the Court adjourn the parties’ initial pretrial conference scheduled for
April 14, 2020 and their accompanying deadline to submit a proposed civil case management plan
and scheduling order. ECF Doc. No. 16.

The reason for this request is that the parties intend to engage in pre-answer motion practice
in accordance with the parties’ proposed briefing schedule that is being filed with the Court in a
separate letter today, fo wit, Defendants’ motion to compel arbitration of plaintiff's breach of
contract and promissory estoppel claims and motion to dismiss certain of plaintiff's other
remaining claims. As such, the parties request that their telephonic pretrial conference and
CMP/scheduling order submission deadline be adjourned pending resolution of the motions.

No prior request for this relief has been made in connection with this lawsuit.
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oO Wels ubmitted,
Patrick McPartland
ce: Abraham Z. Melamed, Esq. (via ECF)

GRANTED. The initial pretrial conference scheduled for April 14, 2020
is ADJOURNED sine die.

SO ORDERED.
Dated: April 7, 2020 : 2
New York, New York ANALISA TORRES
United States District Judge
